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 9   D.B.A. FAITH FORCE MUSIC
10                           UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12
      SEAN HALL d.b.a. GIMME SOME HOT           Case No. 2:17-cv-06882 MWF (ASx)
13    SAUCE MUSIC, et al.,
14                                              PLAINTIFFS’ OPPOSITION TO
                      Plaintiffs,               DEFENDANTS’ SECOND MOTION
15                                              FOR SUMMARY JUDGMENT
      vs.
16
      TAYLOR SWIFT, et al.,
17                                              Date: October 3, 2022
                     Defendants.                Time: 10:00 a.m.
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 1          If one were to look up “last-ditch” in the dictionary, Defendants’ latest attempt to keep
 2    this case from the jury should come up.1 Indeed, given that this is Defendants’ fourth try to
 3    do so, their collective laments that Plaintiffs’ claims are somehow “particularly baseless”
 4    (Mot. at 1:4-6) ring hollow. This is especially so considering that Defendants have had most
 5    of the evidence they now dress up as their latest summary judgment grounds since this case
 6    was filed almost five years ago. Indeed, as of five years ago, Defendants knew that: (1) each
 7    Plaintiff had a publishing contract that Defendants now use to attack standing; (2) Ms. Swift
 8    claims to be the sole author of the lyrics of the allegedly infringing work, Shake It Off
 9    (“Shake”), and when Plaintiffs’ work, Playas Gon’ Play (“Playas”), came out, she led a
10    supposedly sheltered lifestyle in the middle of nowhere that exposed her to nothing else but
11    country music—which Defendants now try to utilize to defeat access; and (3) they see Shake
12    as substantially dissimilar to Playas, which they now claim makes the former sufficiently
13    transformative to allow them to hide behind fair use. Yet despite having all of this supposed
14    evidence from the very beginning, Defendants made a purposeful choice to bifurcate the
15    proceedings and try their hand at defeating substantial similarity first. Since Defendants
16    failed there, two of the same expert witnesses ended up being re-designated, which led to their
17    largely repetitive reports and depositions—all to enable Defendants to repackage the same
18    “no substantial similarity” facts into a “transformative use” argument and make another run
19    at the endzone. Suffice it to say that if Defendants’ goal was to outspend Plaintiffs into
20    submission, they failed at that, too.
21          As shown below, none of Defendants’ last-ditch arguments sticks.               Plaintiffs’
22
23    1
            All internal alterations, quotation marks, footnotes and citations herein are omitted, and
24    all emphasis is added unless otherwise noted. All “D-UF” references are to Defendants’
      Statement of Uncontroverted Facts and Plaintiffs’ Response thereto as reflected in Plaintiffs’
25    Statement of Genuine Dispute, filed herewith. All “P-AUF” references are to Plaintiffs’
      Statement of Additional Uncontroverted Facts, submitted as part of Plaintiffs’ Statement of
26    Genuine Dispute. All “D-Ex.” references are to Defendants’ exhibits, which are consequently
      numbered despite being submitted through different supporting declarations. All “P-Ex.”
27    references are to Plaintiffs’ exhibits, which adopt the same numbering system for the Court’s
      convenience. P-Exs. 22-23 are to the concurrently filed Declaration of Loren Yukio Kajikawa
28    (“Kajikawa Decl.”), P-Ex. 24 is to the concurrently filed Declaration of Nathan Butler, and
      P-Exs. 25-85 are to the concurrently filed Declaration of Gerard P. Fox.
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 1    publishing deals left their respective stakes in this litigation intact; moreover, to the extent
 2    there is any ambiguity on that issue, there are sufficient factual issues to reserve this question
 3    for the jury. As to the “trivial” showing that the Ninth Circuit accepts on access, having
 4    referred to it as so “increasingly diluted in our digitally interconnected world” as to question
 5    its continued significance, Plaintiffs have introduced ample evidence to satisfy it. Any
 6    lingering doubts, including credibility issues, are jury questions. Finally, fair use is not a
 7    license to infringe where, as here, the chorus of one song merely repackages the heart of
 8    another to express the same message with the same commercial purpose. In other words, this
 9    case is ready for trial.
10    I.     General Governing Principles
11           This Court “applies Anderson, Celotex, and their Ninth Circuit progeny” in deciding a
12    summary judgment motion.2 Summary judgment is appropriate where “there is no genuine
13    dispute as to any material fact and the movant is entitled to judgment as a matter of law.”
14    Fed. R. Civ. P. 56(a). As such, in ruling on a motion for summary judgment, the Court’s role
15    is not to evaluate the weight of the evidence or to determine the truth of the matter, but instead
16    to determine whether there is a genuine issue of triable fact. See Anderson, 477 U.S. at 249.
17    The moving party bears the initial burden of identifying relevant portions of the record that
18    demonstrate the absence of facts necessary for one or more essential elements of each claim
19    upon which the moving party seeks judgment. See Celotex, 477 U.S. at 323. If the moving
20    party meets its initial burden, the opposing party must then set out specific facts showing a
21    genuine issue for trial in order to defeat the motion. See Anderson, 477 U.S. at 250. When
22    deciding a motion for summary judgment, “the inferences to be drawn from the underlying
23    facts ... must be viewed in the light most favorable to the party opposing the motion.” 3 As
24    Defendants’ own authority confirms, “[s]ummary judgment is inappropriate if a reasonable
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26    2
              Russell v. Walmart Inc., 2020 WL 9073046, at *7 (C.D. Cal. Oct. 16, 2020) (Fitzgerald,
      J.), citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 242 (1986), and Celotex Corp. v.
27    Catrett, 477 U.S. 317 (1986).
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      3
              Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Valley
      Nat’l Bank of Ariz. v. A.E. Rouse & Co., 121 F.3d 1332, 1335 (9th Cir. 1997).
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 1    juror, drawing all inferences in favor of the nonmoving party, could return a verdict in the
 2    nonmoving party’s favor.” Hill v. Walmart Inc., 32 F.4th 811, 816 (9th Cir. 2022).
 3          The proponent of a copyright infringement claim must prove two elements: “(1)
 4    ownership of a valid copyright, and (2) copying of constituent elements of the work that are
 5    original.”4
 6    II.   Plaintiffs Have Standing
 7          Defendants contend that each Plaintiff lacks standing to bring the infringement claims
 8    pending at bar because each of them, separately from the other, entered into a publishing
 9    agreement, whereby each supposedly assigned a portion of his “copyright” to two different
10    publishers (66-2/3% of Hall’s copyright to Famous Music Corporation (“Famous Music”),
11    and 50% of Butler’s copyright to three companies collectively referred to as “Zomba”) in
12    exchange for a receipt of loyalties. (See Mot. at 8-13.) Defendants further argue that each
13    publishing deal (including the contracts and attendant assignments) also transferred each
14    Plaintiff’s entire right to sue for any kind of copyright infringement. (See id.)5 Contrary to
15    Defendants’ arguments, however, this showing does not add up to the asserted lack of
16    standing.
17          As an initial matter, it is not entirely clear whether each Plaintiff, as the original co-
18    owner of Playas and acting independently of the other, could validly transfer any exclusive
19    rights so as to confer standing to sue on their respective assignees. It is undisputed that only
20    holders of “exclusive right[s]” under the Copyright Act have standing to sue for copyright
21    infringement. (Mot. at 9:1-4, citing 17 U.S.C. § 501(b).) Yet where any given work is a joint
22    work of authorship, such as Playas here, there is binding precedent that warrants a finding
23
      4
             Feist Publications, Inc. v. Rural Telephone Service Co. Inc., 499 U.S. 340, 361 (1991);
24    see also Swirsky v. Carey, 376 F.3d 841, 844 (9th Cir. 2004).
25
      5
             None of Defendants, other than possibly Defendant Sony Music Publishing (US) LLC
      (‘Sony”), which Defendants assert is “formerly known as Sony/ATV Music Publishing LLC”
26    (Dkt. No. 134-45 at 1:3-5), appears to be a party or a successor in interest to the publishing
      contracts and assignments at issue. Defendants cite no authorities allowing third parties to
27    raise someone else’s purported exclusive contractual right to sue to defeat standing.
      Furthermore, none of Defendants’ facts actually asserts that Mr. Hall’s publisher is a party to
28    this case (cf. D-UF 324 (only stating that “Sony Music Publishing (US) LLC, formerly known
      as Sony/ATV Music Publishing LLC … acquired Famous Music”)).
                                                     3
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 1    that “any songwriter agreements … to transfer an exclusive interest of a song that has more
 2    than one author grants only a nonexclusive license,” thus precluding the transferee from
 3    obtaining standing to sue. Elohim EPF USA, Inc. v. Total Music Connection, Inc., 2015 WL
 4    12655556, at *15 (C.D. Cal. Oct. 1, 2015), citing Sybersound Recs., Inc. v. UAV Corp., 517
 5    F.3d 1137, 1146 (9th Cir. 2008); accord John Wiley & Sons, Inc. v. DRK Photo, 998 F. Supp.
 6    2d 262, 280 (S.D.N.Y. 2014) (“[A] copyright owner cannot, by contract or otherwise, grant a
 7    non-exclusive licensee the right to sue for copyright infringement.”), aff’d, 882 F.3d 394 (2d
 8    Cir. 2018). 6 This is especially so considering that the right to sue is not one of the exclusive
 9    rights enumerated in the Copyright Act and thus cannot be transferred without some other
10    exclusive right. See Righthaven LLC v. Hoehn, 716 F.3d 1166, 1169 (9th Cir. 2013) (“Absent
11    from the list of exclusive rights is the right to sue for infringement.”); see also DRK Photo v.
12    McGraw-Hill Glob. Educ. Holdings, LLC, 870 F.3d 978, 985-88 (9th Cir. 2017) (finding the
13    contracts at issue to be nothing but “invalid attempts to transfer the bare right to sue”).7
14          In any event, “when a composer assigns copyright title to a publisher in exchange for
15
      6
             The Elohim court specifically distinguished the Ninth Circuit’s subsequent decision in
16    Corbello v. DeVito, 777 F.3d 1058 (9th Cir. 2015), as having no effect on the continued
      validity of Sybersound. Indeed, while the Corbello court’s affirmed a joint owner’s right to
17    transfer his copyright rights without his co-owner’s permission, it never addressed the
      transferee’s resulting standing to sue (if any) but rather simply acknowledged the existence
18    of Sybersound’s “standing limitation on copyright assignees and licensees” of joint owners
      acting independently of each other. Elohim, 2015 WL 12655556, at *15, citing Corbello, 777
19    F.3d at 1066; see also Elohim EPF USA, Inc. v. Total Music Connection, Inc., 2015 WL
      12655484, at *7 & n.5 (C.D. Cal. Nov. 19, 2015) (distinguishing Defendants’ authority in
20    Minden Pictures, Inc. v. John Wiley & Sons, Inc., 795 F.3d 997 (9th Cir. 2015), as not dealing
      with “the issue as to whether a transfer from one of many co-authors confers an exclusive
21    license,” and further explaining that while “Corbello held that an original co-author does not
      need the permission of other co-authors to transfer his or her interest in the joint work,” it
22    “did not, as Plaintiffs contend, hold that the transferee obtained an exclusive license in the
      transferred work”), citing Corbello, 777 F.3d at 1064.
23    7
             Indeed, the situation here is very much akin to Sybersound, which was summarized as
24    “binding precedent” in Tresona Multimedia, LLC v. Burbank High Sch. Vocal Music Ass’n,
      2016 WL 9223889, at *3 (C.D. Cal. Dec. 22, 2016), aff’d, 953 F.3d 638 (9th Cir. 2020), as
25    follows: “Sybersound was an assignee of TVT Music Publishing’s ‘copyrighted interests for
      purposes of karaoke use, and also the exclusive assignee of the right to sue to enforce the
26    assigned copyright interest. TVT itself was a co-owner of the nine songs at issue in the case.
      Thus, the Ninth Circuit held that ‘as a co-owner of the copyright, TVT could not grant an
27    exclusive right in the karaoke-use interest of the nine reference copyrights.’” Cf. Stockfood
      Am., Inc. v. Adagio Teas, Inc., 475 F. Supp. 3d 394, 408-09 (D.N.J. 2020) (analyzing Ninth
28    Circuit precedent and explaining why “born” co-owners and their assignees warrant different
      treatment).
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 1    the payment of royalties, an equitable trust relationship is established between the two parties
 2    which gives standing to sue for infringement of that copyright.” Love v. The Mail on Sunday,
 3    2006 WL 4046180, at *10 (C.D. Cal. Aug. 15, 2006), citing Cortner v. Israel, 732 F.2d 267,
 4    271 (2d Cir. 1984); see also 17 U.S.C. § 501 (“The legal or beneficial owner of an exclusive
 5    right under a copyright is entitled to institute an action for any infringement of that particular
 6    right ....”); accord DRK Photo, 870 F.3d at 988; cf. Topolos v. Caldewey, 698 F.2d 991, 994-
 7    95 (9th Cir. 1983) (plaintiff’s “alleg[ation] that pursuant to his publishing contract Vintage
 8    Image took out and held in his behalf the copyright to works which he had co-authored …
 9    establish[ed] him as beneficial owner of the copyright”). “A beneficial owner may bring an
10    infringement action to protect his economic interest in the copyright from being diluted by a
11    wrong-doer’s infringement.” Fantasy, Inc. v. Fogerty, 654 F. Supp. 1129, 1131 (N.D. Cal.
12    1987). There is no dispute that both Plaintiffs received royalties in exchange for the
13    supposedly transferred portions of their respective copyrights. (P-AUF 48.) Thus, assuming
14    the contracts at issue here validly transferred any exclusive rights, as they must in order to
15    confer standing, and given that each Plaintiff only partially transferred his respective
16    copyright, it means that having parted with that part of his “legal title,” each Plaintiff retained
17    standing to sue for infringement thereof as a beneficial owner for the transferred portion of
18    his copyright. See Broad. Music, Inc. v. Hirsch, 104 F.3d 1163, 1166 (9th Cir. 1997)
19    (“Beneficial ownership arises by virtue of section 501(b) for the purpose of enabling an author
20    or composer to protect his economic interest in a copyright that has been transferred.”).
21    Thus, Defendants’ assertion that Plaintiffs cannot qualify as beneficial owners because they
22    retained a portion of their copyright and thus did not “part[] with legal title” (Mot. at 11:3-6
23    & 13:1-2) simply ignores that they did part with the title for the purportedly transferred
24    portion of their respective rights.8
25          Defendants also argue that because the publishing contracts assigned all rights to sue,
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      8
             Defendants’ sole authority for this point, Warren v. Fox Fam. Worldwide, Inc., 328
      F.3d 1136 (9th Cir. 2003), deals with works-for-hire, where the transferor never had any
28    copyright ownership to transfer in the first place. See DRK Photo, 870 F.3d at 988
      (distinguishing Warren on this basis).
                                                      5
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 1    this must include the assignment of beneficial ownership as well. (See Mot. at 11:6-15 &
 2    13:3-6.) Yet they cite no authority for this proposition. Since the equitable trust relationship
 3    is imposed as a matter of law,9 any attempt to contract around the Copyright Act and the
 4    judicial concepts developed thereunder would not stand. Cf. DRK Photo, 870 F.3d at 987
 5    (observing that the parties’ contractual intent cannot trump the Copyright Act), citing
 6    Righthaven LLC v. Hoehn, 716 F.3d 1166, 1171 (9th Cir. 2013); Yount v. Acuff Rose-
 7    Opryland, 103 F.3d 830, 834 (9th Cir. 1996) (observing that by providing standing to sue to
 8    beneficial owners, Section 501 (b) of the Copyright Act “indicates … [Congressional] intent
 9    to allow every beneficial owner to protect his interests, just in case the legal owner is not
10    doing so. In other words, because an infringer may well injure those who have rights to
11    royalties, standing has been conferred upon them.”). 10 This is confirmed by the contract in
12    Cotner, which also provided that the “music … and all rights therein shall be [publisher]’s
13    ‘sole and exclusive property to do with as we [publisher] wish,’” yet the court still found that
14    the assignor had beneficial standing to sue. 732 F.2d at 270; see also Parker v. Winwood,
15    2017 WL 6886076, at *1 & 8 (M.D. Tenn. Oct. 17, 2017) (plaintiff retained standing to sue
16    as a beneficial owner, despite the publishing contract’s provisions for transfer of his copyright
17    and “all rights whatsoever nature thereunder existing”), aff’d, 938 F.3d 833 (6th Cir. 2019);
18    Mason v. Jamie Music Pub. Co., 658 F. Supp. 2d 571, 579-80 (S.D.N.Y. 2009) (plaintiff will
19    retain her beneficial ownership upon completion of transfer despite assigning her copyright
20    along with “all claims and causes of action arising from the Composition”). This is especially
21    so considering that some courts have expressed doubts as to whether such assignments of
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23    9
             See, e.g., Skidmore v. Led Zeppelin, 2016 WL 1442461, at *7 (C.D. Cal. Apr. 8, 2016)
      (distinguishing “equitable” right to sue as a beneficial owner from a legal right).
24    10
             Indeed, the concept of beneficial ownership appears tailor-made for Mr. Hall’s
25    situation, whose publishing rights now appear to be held by Ms. Swift’s publisher, Sony.
      (See, e.g., D-Ex. 136.) Accordingly, Sony had a conflict of interest when choosing whose
26    interests to protect—those of its biggest stars, Ms. Swift, or Mr. Hall. Cf. Moran v. London
      Recs., Ltd., 827 F.2d 180, 183 (7th Cir. 1987) (“[W]hen a copyright owner assigned title in
27    exchange for the right to receive royalties from the copyright’s exploitation, a fiduciary
      relationship arose between the parties.”). Regardless of whether Sony breached its fiduciary
28    duties to Mr. Hall by choosing to side with Ms. Swift, the law still protects Mr. Hall by
      reserving his standing to sue as a beneficial owner should his assignee refuse to do so.
                                                     6
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 1    future claims would even be valid under the statute in the first place. See Silvers v. Sony
 2    Pictures Ent., Inc., 2001 WL 36127624, at *2 (C.D. Cal. Jan. 25, 2001) (“The Court
 3    recognizes that policy concerns underlying the Copyright Act might militate against allowing
 4    a copyright holder to assign away future rights to sue for copyright infringement.”) (original
 5    italics).
 6           As for the percentage of the copyright that each Plaintiff expressly retained under each
 7    of their respective contracts, each Plaintiff thus necessarily retained his right to sue as the
 8    current owner of the non-transferred portion of his rights. See, e.g., Straughter v. Raymond,
 9    2011 WL 3651350, at *7 (C.D. Cal. Aug. 19, 2011) (“[E]ven if plaintiff only owns a share of
10    the ‘Reasons’ copyright, he still has standing to sue defendants for copyright infringement as
11    a co-owner.”). Any argument that either Plaintiff here transferred any rights to sue as to the
12    portion of the copyright that he retained amounts to nothing more than an invalid attempt to
13    transfer “the bare right to sue” without the necessary support of a corresponding exclusive
14    right. DRK Photo, 870 F.3d at 985-88 (referring to the attempted “transfer [of] the bare right
15    to sue” as “invalid”); Righthaven, 716 F.3d at 1169 (“[T]he assignment of the bare right to
16    sue for infringement, without the transfer of an associated exclusive right, is impermissible.”);
17    Silvers v. Sony Pictures Ent., Inc., 402 F.3d 881, 890 (9th Cir. 2005) (Defendants’ own
18    authority finding the assignment of the bare right to sue for infringement to be impermissible
19    and holding that such an assignment does not confer standing to sue).11
20           Finally, Defendants also appear to suggest that by merely asking for permission to sue
21    from their respective publishers after they filed this lawsuit, Plaintiffs are now somehow
22
23
      11
             Indeed, the contractual definition of “Compositions” to which Mr. Hall’s publisher
      obtained the right to sue is consistent with this interpretation. Mr. Hall’s contract defines
24    “Compositions” as corresponding to the transferred “66-2/3% … of the copyright ownership
      and [other rights] … that is attributable to” his “share” of all his works (D-Ex. 131 at ¶ 2(a)).
25    To the extent this definition is ambiguous, extrinsic evidence of actual intent may come in to
      clarify them. See O’Connell v. Celonis, Inc., 2022 WL 3591061, at *13 (N.D. Cal. Aug. 22,
26    2022). (See also D-Ex. 131 at ¶ 29 (Mr. Hall’s publishing contract is governed by California
      law).) While Defendants cite only evidence of what Mr. Hall understood at the time of
27    contracting, they cite no corresponding evidence as to what he actually intended (or what his
      publisher intended, for that matter). Mr. Hall, however, testified that it was never his intent
28    for his co-publisher to obtain a right to sue for the non-transferred portion of the copyright.
      (P-AUF 45, citing P-Ex. 30 at 68:17-69:7.)
                                                     7
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 1    foreclosed from proceeding with their claims here. Yet Defendants cite no supporting
 2    authority for this contention—most likely because neither Plaintiff could be deemed to have
 3    admitted what is essentially a legal conclusion. Cf. 29 Beekman Corp. v. Wansdown
 4    Properties Corp. N.V., 2021 WL 4481006, at *5 (S.D.N.Y. Sept. 29, 2021) (“A party’s
 5    statement interpreting a contract cannot be a judicial admission because it constitutes a legal
 6    conclusion rather than a factual admission.”). This is especially so given that the course of
 7    conduct at issue is entirely consistent with each Plaintiff believing that he did have a right to
 8    sue and merely asking for permission to do so out of abundance of caution. Indeed, since the
 9    course of conduct at issue was undertaken after Plaintiffs had asserted their rights by filing
10    the underlying claims, it could not have induced any kind of reliance from Defendants—or
11    affect Plaintiffs’ standing as a matter of law, since it is measured “based on the facts that exist
12    at the time of filing” (Mot. at 12:25-26). Moreover, despite receiving notice of this lawsuit
13    almost five years ago (see D-Ex. 141), Butler’s publisher has neither attempted to intervene
14    in this action nor asserted claims against him for supposedly breaching any allegedly
15    exclusive rights to sue under the contract (see P-AUF 46), thereby effectively abandoning any
16    such rights.12
17           The bottom line is that as long a party maintains “a sufficient stake in an otherwise
18    justiciable controversy,” it has valid standing to sue. Sierra Club v. Morton, 405 U.S. 727,
19    731 (1972). Both Plaintiffs remain “co-owner[s]” of Playas (Mot. at 10:4 (confirming as
20    much as to Hall)) and continue collecting accountings for Playas; thus, they maintain “a
21    sufficient stake” to proceed here.
22    III.   Plaintiffs Can Establish Copying
23           A copyright infringement claim requires no evidence of copying, be it actual or
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25
      12
             Mr. Butler’s publishing contract is governed by New York law. (D-Ex. 137 at ¶
      12.05(a).) Under New York law, “[c]ontractual rights may be waived if they are knowingly,
26    voluntarily and intentionally abandoned.” Fundamental Portfolio Advisors, Inc. v.
      Tocqueville Asset Mgmt., L.P., 7 N.Y.3d 96, 104 (N.Y. 2006). Such abandonment “may be
27    established by … failure to act so as to evince an intent not to claim a purported advantage.”
      Id. Importantly, this inquiry necessarily raises an issue of fact, thus further foreclosing
28    summary judgment as to Mr. Butler. See id. (“[T]he existence of an intent to forgo … a right
      [for purposes of abandonment] is a question of fact.”).
                                                      8
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 1    circumstantial, because it may be inferred as a matter of law. See Russell v. Walmart Inc.,
 2    2020 WL 5289889, at *7 (C.D. Cal. Aug. 17, 2020) (Fitzgerald, J.). As long as plaintiff
 3    shows “a ‘striking similarity’ between the works,” no further showing is required. Id., citing
 4    Baxter v. MCA, Inc., 812 F.2d 421, 423 (9th Cir. 1987). “A finding of striking similarity is
 5    appropriate” when: (1) “the works are virtually identical,” or (2) “the works ‘are so strikingly
 6    similar as to preclude the possibility of independent creation.’” Russell, 2020 WL 5289889,
 7    at *7, citing, inter alia, Unicolors, Inc. v. Urban Outfitters, Inc., 853 F.3d 980, 988 (9th Cir.
 8    2017); accord Malibu Textiles, Inc. v. Label Lane Int’l, Inc., 922 F.3d 946, 952 (9th Cir. 2019)
 9    (“[I]f the similarities are ‘striking’ enough ... such similarities can be sufficient on their own
10    to establish that the defendant must have had access to the plaintiff’s work.”). Moreover, as
11    Defendants’ own authority confirms, “[a] finding of such [striking] similarity may be based
12    on the overlap of unprotectable as well as protectable elements.” Skidmore as Tr. for Randy
13    Craig Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051, 1064 (9th Cir. 2020).
14          Indeed, “copying might be demonstrated, with no proof or weak proof of access, by
15    showing that a single brief phrase, contained in both pieces, was so idiosyncratic in its
16    treatment as to preclude coincidence. In such circumstances, stimulation by the same
17    stimulus would not serve as a defense ….” Heim v. Universal Pictures Co., 154 F.2d 480,
18    488 (2d Cir. 1946). Here, Plaintiffs’ expert witness opined that the four-part sequences at
19    issue are “nearly identical” and use “striking[ly]” similar phraseology (P-Ex. 22 at ¶¶ 1, 4,
20    11-14 & 20 & 26 at 61:10-62:22); in fact, he recently reaffirmed his conclusions by opining
21    that “[t]he use of similar phrases in Shake It Off is striking and functions in identical fashion”
22    (P-Ex. 23 at ¶ 7). Indeed, the Court itself appeared to suggest that the obviously high level
23    of similarity could hardly be denied when they are laid out “side by side.” (P-Ex. 25 at 12:6-
24    13).) Tellingly, and contrary to Defendants’ contentions, this Court does not need an expert
25    to tell it whether the works are strikingly similar. See Neman Bros. & Assocs., Inc. v. One
26    Step Up Ltd., 2019 WL 8129616, at *9 (C.D. Cal. Nov. 25, 2019) (“[Defendant] argues that
27    plaintiffs cannot establish that two works are strikingly similar without expert testimony.
28    Unicolors, however, dispels that notion. There, the Ninth Circuit affirmed the district court’s

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 1    determination on summary judgment that two floral fabric designs were strikingly similar
 2    even though the district court conducted the similarity analysis by reviewing two
 3    photographic exhibits attached to the plaintiff’s summary judgment submissions without the
 4    benefit of expert analysis.”). Indeed, since this is not a “music” case but rather a case
 5    concerned with literary works, Defendants’ own authority supports this notion. See Stabile
 6    v. Paul Smith Ltd., 137 F. Supp. 3d 1173, 1188 (C.D. Cal. 2015) (“While expert testimony
 7    may be necessary to establish striking similarity in ‘technical’ areas such as music, in many
 8    cases, the trier of fact is equipped to make this determination without expert assistance.”). In
 9    turn, Defendants’ contention that Plaintiffs cannot establish striking similarity without any
10    “evidence” that the accused work “could not possibly have been the result of independent
11    creation” is questionable as a matter of law;13 indeed, as Defendants’ own authority shows,
12    independent creation is an affirmative defense. 14 It is thus unsurprising that other courts
13    rejected any notion that Plaintiffs must carry the burden touted by Defendants here.15 Indeed,
14
      13
              Defendants’ authority for this proposition, Stabile, 137 F. Supp. 3d at 1188 (original
15    italics), appears to improperly rest on the unpublished opinion in Seals-McClellan v.
      Dreamworks, Inc., 120 F. App’x 3 (9th Cir. 2004). See Ninth Circuit Rule 36-3(c)
16    (“Unpublished dispositions and orders of this Court issued before January 1, 2007 may not
      be cited to the courts of this circuit ….”). Regardless, the Seals-McClennan court’s own
17    source for this notion was the opinion in Walker v. Univ. Books, Inc., 602 F.2d 859, 864 (9th
      Cir. 1979), where the court expressly held that it “need not reach the issue of substantial
18    similarity” and only noted in passing that “proof of actual copying … is often attained …
      where the similarity between the two works is such that no explanation other than copying is
19    reasonably plausible,” rather than that such a showing was required. Indeed, the Stabile court
      itself went on to confirm that “striking similarity simply means that in human experience it is
20    virtually impossible that the two works could have been independently created.” 137 F. Supp.
      3d at 1188.
21    14
              Rentmeester v. Nike, Inc., 883 F.3d 1111, 1117 (9th Cir. 2018), overruled on other
      grounds by Skidmore, 952 F.3d 1051; see also Arch Chemicals, Inc. v. Radiator Specialty
22    Co., 653 F. Supp. 2d 1099, 1104 (D. Or. 2009) (“[A] plaintiff need not disprove an affirmative
      defense in order to survive summary judgment.”); cf. Green v. Metro-Goldwyn-Mayer Studios
23    Inc., 2008 WL 11338272, at *4 (C.D. Cal. Nov. 24, 2008) (denying defendants’ summary
      judgment motion because, inter alia, “independent creation is an affirmative defense to
24    copyright infringement,” and “the Court need not determine whether [the accused work] is an
      independent creation at this stage of the proceedings because Defendants did not move for
25    summary judgment on this issue”).
26
      15
              See Gray v. Perry, 2018 WL 3954008, at *5 (C.D. Cal. Aug. 13, 2018) (denying
      summary judgment: “Defendants … argue that plaintiffs cannot rebut defendants’ own
27    testimony that they independently created [the accused song], and that therefore, plaintiffs’
      claim for copyright infringement fails. However, the Court observes that the strength of
28    defendants’ evidence concerning independent creation is a factual issue for the jury to
      determine at trial, and is not an issue suited for determination at this stage.”), citing Three
                                                    10
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 1    courts have denied summary judgment with no evidence of access by simply comparing the
 2    works and concluding that their “striking similarity” means that “a reasonable jury could
 3    conclude … that [Defendant] copied [Plaintiff]’s design.” Teespring, Inc. v. Puetz, 2017 WL
 4    956633, at *2 (N.D. Cal. Mar. 13, 2017) (also observing that because the works were
 5    “strikingly similar,” defendant’s “evidence of independent creation is not strong enough” to
 6    preclude plaintiff from reaching a jury). 16
 7          In any event, Professor Kajikawa’s conclusions that because the works at issue are
 8    “nearly identical” and use “striking[ly]” similar phraseology “in identical fashion,” any notion
 9    of independent creation or simple coincidence is virtually impossible provide sufficient
10    evidence to establish an inference of copying as a matter of law. (Kajikawa Decl. ¶¶ 8-9.)
11    Consequently, Defendants’ assertion that copying is not even “likely” based on the supposed
12    commonality of tautologies in general and playa/hater tautologies in particular (Mot. at 14:4-
13    16 (original italics)) says nothing about the exact combination of such phrases and sequencing
14    thereof in the four-part lyrical sequences at issue here. 17
15
      Boys Music Corp. v. Bolton, 212 F.3d 477, 486 (9th Cir. 2000), overruled on other grounds
16    by Skidmore, 952 F.3d 1051. It is, of course, immaterial that Defendants deny ever hearing
      Plaintiffs’ song. See id. at *5 n.5 (C.D. Cal. Aug. 13, 2018) (“The Court acknowledges that
17    the ‘Dark Horse’ Writers claim that they had never heard ‘Joyful Noise’ before writing ‘Dark
      Horse.’ The defendants in Three Boys also insisted that they had not heard the song that they
18    had been accused of copying. But even if defendants cannot remember hearing ‘Joyful
      Noise,’ the Ninth Circuit recognizes that copyright infringement of a popular song can be
19    subconscious.”), citing Three Boys, 212 F.3d at 483-4.
      16
             See also Alpi Int’l, Ltd v. Anga Supply, LLC, 118 F. Supp. 3d 1172, 1180 (N.D. Cal.
20    2015) (refusing to consider any of plaintiff’s evidence on access yet still denying summary
      judgment: “[B]ecause all of the asserted and allegedly infringing works are so similar, the
21    Court does not, at this time, exclude the possibility that a jury could find the works ‘strikingly
      similar’ and thus create a permissible inference of copying even without evidence of
22    access.”); accord Atari Interactive, Inc. v. Redbubble, Inc., 515 F. Supp. 3d 1089, 1111 (N.D.
      Cal. 2021) (on summary judgment, observing that “[w]here there is no evidence of access,
23    the two works must be ‘strikingly similar’” and “[d]emonstrating such similarity requires a
      side-by-side comparison” and finding that plaintiff established copying based on the court’s
24    own determination that the designs at issue were “identical”); Haas Automation, Inc. v.
      Denny, 2013 WL 6502876, at *8 (C.D. Cal. Dec. 4, 2013) (reaching substantially the same
25    conclusions).
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      17
             Defendants’ apparent attempt to identify R. Kelly’s song as the supposed prior common
      source fails for similar reasons. First, Defendants rely on “Fact 65” (Mot. at 14:11), which
27    appears to have nothing to do with the issue. Second, as Plaintiffs’ response to Fact 26 shows,
      not only there is lack of evidence in this case that R. Kelly released his song prior to Plaintiffs’
28    work (and, in fact, Mr. Hall testified as to the circumstances supporting his belief that R. Kelly
      had heard the recording of Plaintiffs’ work before he recorded his song (D-Ex. 145 at 147:10-
                                                      11
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 1          But even on a lesser showing of substantial similarity (on which, as the Court has
 2    already determined, Plaintiffs raised sufficient issues of disputed fact to proceed to the jury),
 3    all Plaintiffs need to show to establish an inference of copying is Defendants’ access to their
 4    work—which, as the Ninth Circuit confirms, requires little showing nowadays because
 5    “access may be established by a trivial showing that the work is available on demand.”
 6    Skidmore, 952 F.3d at 1068 (also observing that “the concept of ‘access’ is increasingly
 7    diluted in our digitally interconnected world” and questioning whether the very concept of
 8    “access still has meaning”); cf. Braham v. Sony/ATV Music Publ’g, 2015 WL 7074571, at *5
 9    (C.D. Cal. Nov. 10, 2015) (on a motion to dismiss, confirming that “[i]n the internet age,
10    alleging access is not terribly difficult …. Having furnished a YouTube link to his song,
11    Braham has plausibly pled that Defendants had the opportunity to view his work.”).
12    Plaintiffs’ work has been accessible on demand through, at the very least, YouTube, where it
13    has been available since 2010. (P-AUF 73-74.) Moreover, any notion that Plaintiffs must
14    somehow demonstrate “commercial success” of their song to make the necessary showing on
15    access, as Defendants argue (Mot. at 15:24-25), has been undermined by the Ninth Circuit’s
16    recent holdings, which refuse to offer sliding-scale copyright protections that are dependent
17    on commercial success. Skidmore, 952 F.3d at 1068 (observing that “nothing in copyright
18    law suggests that a work deserves stronger legal protection simply because it is more popular
19    or owned by better-funded rights holders”).
20          In any event, even if “access still has meaning,” and Plaintiffs had to show anything
21
22    20)), but R. Kelly’s combination is also different because it, inter alia, involved only a three-
      part structure that used different sequencing and replaced each appearance of “gonna” with
23    “wanna.” Cf. Lester v. U2 Ltd., 2009 WL 10673938, at *3 (C.D. Cal. Apr. 10, 2009) (denying
      summary judgment based on, inter alia, conclusion by plaintiff’s expert that no prior song
24    contained “the same combination” of elements). In the same vein, Ms. Swift’s listening to
      Eric Church’s song The Outsiders is not probative, since that song uses only the first part of
25    the four-part sequence at issue; moreover, it uses it only once outside of the chorus. (See D-
      UF (Pl. Resp.) 255.) Cf. Golden v. Michael Grecco Prods., Inc., 524 F. Supp. 3d 52, 66
26    (E.D.N.Y. 2021) (“[E]ven if Golden could prove that he had obtained the image from another
      infringing use, that would not be a defense to Golden’s own subsequent infringement.”); see
27    also Enter. Mgmt. Ltd., Inc. v. Construx Software Builders, Inc., 2021 WL 511111, at *6
      (W.D. Wash. Feb. 11, 2021) (“[Defendant]’s incorrect assumption that [plaintiff]’s work was
28    public domain because so many others had also copied it does not absolve him of
      infringement.”), citing DC Comics v. Towle, 802 F.3d 1012, 1024 (9th Cir. 2015).
                                                     12
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 1    beyond their song’s on-demand accessibility to survive summary judgment where, as here,
 2    the Court has already found sufficient factual issues to deny summary judgment on the issue
 3    of substantial similarity, Plaintiffs have introduced evidence to establish the required
 4    “reasonable possibility” that Ms. Swift “had the chance” to hear Plaintiffs’ song and thus
 5    satisfy even the standard employed by Defendants’ own authority. Art Attacks Ink, LLC v.
 6    MGA Entm’t Inc., 581 F.3d 1138, 1143 (9th Cir. 2009). Indeed, Plaintiffs’ burden to
 7    withstand summary judgment by showing access under this standard “is not so high. All
 8    plaintiffs must do here is set out specific facts showing a genuine issue for trial as to whether
 9    there is a reasonable possibility that defendants had the chance to view the protected work.”
10    Gray, 2018 WL 3954008, at *4 (denying summary judgment),18 citing Anderson, 477 U.S. at
11    250, and Art Attacks, 581 F.3d at 1143. Here, Plaintiffs’ evidence shows that their work was
12    released to the public as part of 3LW’s self-titled debut album, which reached No. 29 on the
13    Billboard 200 album chart and No. 19 on the Billboard Top R&B/Hip-Hop chart, as well as
14    was certified platinum by the Recording Industry Association of America with over 1,000,000
15    units sold; moreover, Plaintiffs’ song itself, which was released as a single in April 2001,
16    reached No. 17 on the Billboard U.S. Rhythmic chart, No. 50 on the Billboard R&B/Hip-Hop
17    Airplay chart, No. 56 on the Billboard U.S. Hot R&B/Hip-Hop Songs chart, No. 81 on the
18    Billboard Hot 100 chart, No. 83 on the Eurochart Hot 100, No. 5 on the Billboard UK Hip
19    Hop/R&B chart and No. 21 on the UK Singles chart; furthermore, it was performed on
20    national television (on ABC’s Live with Regis and Kelly) and debuted around March 7, 2001
21    at No. 7 on one of the most watched MTV shows at the time, which was Total Request Live
22    countdown show, staying on the countdown for 11 days and peaking at number 5, as well as
23    was one of the most played videos on MTV for the week of April 29, 2001. (See P-AUF 17-
24    24, 49-72 & 75 (also detailing other evidence of widespread dissemination, including
25    considerable radio play).) Additionally, in 2001, Playas was repeatedly one of the “Most
26
27    18
             While the Gray court also rejected the proposition that online accessibility alone would
28    suffice to produce an inference of access, this was prior to the Ninth Circuit’s opinion in
      Skidmore, 952 F.3d at 1068, confirming the opposite.
                                                     13
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 1    Added” radio songs according to Radio & Records (R&R), a trade publication which, in part,
 2    monitored and reported airplay data supplied by Mediabase Research, a division of Premiere
 3    Radio Networks and repeatedly appeared on the R&R/CHR Rhythmic Top 50 chart, climbing
 4    to No. 20 on June 22, 2001. (See P-AUF 65.) In fact, three months after its release, Plaintiffs’
 5    song was selected for inclusion on “Now That’s What I Call Music! 7,” which debuted at No.
 6    1 on the Billboard 200 chart, with 621,000 copies sold in its first week. (See P-AUF 55.) Even
 7    aside from its peak popularity, Plaintiffs’ work was voted as one of Billboard’s “Top 100
 8    Greatest Girl Group Songs of All Time” in 2017, clearly signifying that it remained in the
 9    collective consciousness long after it was released. (See P-AUF 76.) While Defendants deny
10    that this evidence is sufficient to show their exposure and attempt to distance themselves from
11    all the aforementioned sources, this factual issue cannot be properly resolved at this point.19
12          Indeed, none of Defendants’ authorities even suggests that Plaintiffs’ showing is
13    somehow insufficient to withstand summary judgment on access. 20 By contrast, courts have
14
      19
             Thus, for example, Ms. Swift’s self-described sheltered lifestyle at the time Plaintiffs’
15    work was at its peak of popularity, along with her mother’s evidence collaborating the same,
      does not rule out Ms. Swift going shopping to a local supermarket or to the mall and catching
16    Plaintiffs’ work being played there—in fact, Ms. Swift’s sworn testimony confirms her trips
      to the mall around the relevant time. (See P-AUF 80.) Indeed, there is evidence of Plaintiffs’
17    licensing of Playas to the service that administers music for supermarkets and malls—or even
      elevators. (See P-AUF 75.) There are also reports of Ms. Swift’s remembering trips to New
18    York during the same time, where she went on modeling auditions and took voice lessons.
      (See P-AUF 82.) Those trips could similarly expose Ms. Swift to the popular music of the
19    time, including Plaintiffs’ work. In any event, Ms. Swift does admit that she went to school
      every day during the relevant time, which certainly exposed her to other children playing
20    popular music that likely included Playas given the above-described popularity of the song—
      indeed, it was unlikely that Ms. Swift’s classmates did not watch MTV or its flagship show,
21    TRL, which was at its peak popularity in 2001. (The Court can appropriately take judicial
      notice      of     TRL’s       popularity       at      the       time,     as      detailed     at
22    https://en.wikipedia.org/wiki/Total_Request_Live.) Similarly, while Mr. Sandberg describes
      his supposed isolation from U.S. music in Sweden at the time (which appears to be
23    contradicted by his statements to the press, as well as reports of his working out of New York
      around the same time (D-UF (Pl. Resp.) 435)), and aside from Playas’ popularity in Europe
24    according to the above-cited charts (which specifically account for Sweden), he does admit
      watching TRL when one of his U.S. recordings artists was featured, and one of such artists
25    was Britney Spears, whose song appeared on TRL at the same time as Playas. (See P-AUF
      96; see also Declaration of Karl Martin Sandberg, Dkt. No. 134-6, at ¶¶ 6 & 9.) In turn, the
26    evidence of Playas’ charting in Europe (including Sweden) and Mr. Schuster’s admission that
      that he did have access to American R&B/Hip Hop music at the time (although not to “rap,”
27    which is irrelevant for Playas), creates issues of fact as to his access as well. (See Declaration
      of Karl Johan Schuster, Dkt. No. 134-7, at ¶ 4.)
28    20
             Thus, Defendants rely on ABKCO Music, Inc. v. Harrisongs Music, Ltd., 722 F.2d 988,
                                                      14
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 1    denied summary judgment of access based on a similar showing. See Straughter v. Raymond,
 2    2011 WL 13176750, at *3 (C.D. Cal. Nov. 21, 2011) (denying reconsideration of the court’s
 3    prior denial of summary judgment and, in addition to taking judicial notice of the song’s
 4    limited chart success, also observing that “[e]ven if [plaintiff’s song] received limited radio
 5    airplay, a rational jury could still find that defendants had more than a ‘bare possibility’ of
 6    hearing the song”); Straughter, 2011 WL 3651350, at *8-13 (denying summary judgment on
 7    access based on a showing that included, inter alia, only limited chart success, such as only
 8    reaching “number 32 on the Billboard Chart which lists the most popular songs in R & B and
 9    hip hop only”);21 Repp v. Webber, 892 F. Supp. 552, 557 (S.D.N.Y. 1995) (where the song,
10    inter alia, “hit[] the Billboard magazine charts of popular music for twelve weeks” and was
11    reviewed by Variety magazine, denying summary judgment on access: “While this evidence,
12    standing alone, by no means compels the conclusion that there was access ... it does not
13    compel the conclusion that there was not. Accordingly, … [the] contention that [claimants]
14    cannot establish access to the copyrighted work is meritless.”), citing ABKCO, 722 F.2d at
15    998.22 Indeed, the Ninth Circuit’s decision in Three Boys affirmed the jury’s finding of access
16
      998 (2d Cir. 1983), an opinion dealing with access in the world before Ms. Swift was even
17    born, and point out that there the song was a number one hit. Aside from the fact that
      defendant in that case “admitted at trial” that he had heard the song, rendering further
18    discussion of access in ABKCO as simply dicta, this certainly does not mean that if a song is
      not a number one hit, then no access could possibly be established. Indeed, the Ninth Circuit’s
19    refusal to provide sliding-scale protections based on a given work’s commercial success
      forecloses this line of argument. See Skidmore, 952 F.3d at 1068. Similarly, the court’s
20    resolving credibility issues after trial in Intersong-USA v. CBS, Inc., 757 F. Supp. 274, 281-
      82 (S.D.N.Y. 1991) (concluding that radio play evidence provided “an insufficient basis to
21    conclude that any of [defendants] heard the song” because “[e]ach of these defendants denies
      having heard [the song] prior to the commencement of this suit,” and “[t]he Court has been
22    given no reason to doubt the veracity of these representations”), has no application on
      summary judgment.
23    21
             While the Straughter court also based its holding on defendants being steeped in the
      same genre at the time (as did the Ninth Circuit in Three Boys), it is undisputable that Ms.
24    Swift certainly became equally steeped in the same genre as Plaintiffs’ song by the time Shake
      It Off was written, as she was attempting to break away from the mold of a country artist.
25    (See P-AUF 86-94.) As such, by the time she (allegedly) wrote the lyrics of Shake It Off, she
      had become well-familiar with much of the genre (see id.) and was likely exposed to one of
26    its well-known compositions, such as Playas. Indeed, Ms. Swift’s displayed her knowledge
      of many popular songs in this genre, even though some of them came out prior to 2001. (See
27    P-Ex. 31 at 106:2-109:11.)
28
      22
             To the extent Defendants seek to imply some kind of market saturation requirement,
      they also themselves confirm that this kind of evidence only “may” show “reasonable
                                                    15
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 1    on an even lesser showing, as there “the alleged infringers never admitted hearing the
 2    purportedly infringed song, ‘Love is a Wonderful Thing’ by the Isley Brothers. That song
 3    never even made the Billboard top 100. Indeed, the ‘Love is a Wonderful Thing’ was never
 4    even released on an album or compact disc until a year after the alleged infringers wrote their
 5    song.” Straughter, 2011 WL 13176750, at *3 n.4, citing Three Boys, 212 F. 3d at 484
 6    (reasoning that it was “entirely plausible” that two Connecticut teenagers could
 7    subconsciously copy a song “that was played on the radio and television for a few weeks …
 8    twenty years [earlier]”); see also id. at 484-5 (emphasizing that the proper inquiry “is not
 9    whether Plaintiff has proven access by a preponderance of evidence, but whether reasonable
10    minds could find that Defendants had a reasonable opportunity to have heard Plaintiff’s song
11    before they created their own song.”) (original italics).
12    IV.   Defendants’ Use is Not Fair
13          “Fair-use analysis … is a Great Balancing Act” that “can be elusive to the point of
14    approaching the metaphysics of the law, where the distinctions are ... very subtle and refined,
15    and, sometimes, almost evanescent.” Dr. Seuss Enterprises, L.P. v. ComicMix LLC, 983 F.3d
16    443, 451 (9th Cir. 2020).23 Given the subtlety of the “equitable” analysis to be performed,
17    id., courts often refuse to take the jury’s place in weighing the applicable factors, especially
18    where, as here, “numerous conflicting factual disputes” are involved. See, e.g., Furie v.
19    Infowars, LLC, 401 F. Supp. 3d 952, 972 & 976 (C.D. Cal. 2019) (Fitzgerald, J.) (also
20    identifying the relevant factors as “(1) the purpose and character of the use, including whether
21    such use is of a commercial nature …; (2) the nature of the copyrighted work; (3) the amount
22    and substantiality of the portion used in relation to the copyrighted work as a whole; and (4)
23
24    possibility” of access (Mot. at 16:18) rather than that any such showing is actually required.
      See Gray v. Perry, 2018 WL 5095118, at *3-5 (C.D. Cal. Oct. 17, 2018) (rejecting any such
25    requirements to withstand summary judgment on access).
26
      23
             It is noteworthy that Defendants conceded during appellate argument in this case that
      if someone wrote a song repeating just the first two lines of the four-part sequence at issue
27    here (albeit with Defendants’ added repetition of words), Defendants would assert a claim for
      infringement, thus implying they themselves would not find the use to be fair. See
28    https://www.ca9.uscourts.gov/media/audio/?20191015/18-55426/, at 23.25-26.10.

                                                     16
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 1    the effect of the use upon the potential market for or value of the copyrighted work”). Here,
 2    as discussed below, even assuming that Defendants fulfilled their evidentiary burden on this
 3    affirmative defense, summary judgment should still be denied due to the “widely conflicting
 4    evidence on the fair use defense that requires the Court to weigh credibility and resolve factual
 5    disputes…. [T]hese factual disputes and credibility determination are more appropriately left
 6    to the jury rather than determined by the Court on summary judgment.” Id. at 974. Finally,
 7    it is also important to bear in mind that “[t]he exception to copyright protection for fair use
 8    cannot be permitted to swallow the basic right.” New Era Publications Int’l, ApS v. Henry
 9    Holt & Co., 695 F. Supp. 1493, 1513 (S.D.N.Y. 1988), aff’d, 873 F.2d 576 (2d Cir. 1989);
10    see also Paramount Pictures Corp. v. Carol Pub. Grp., 11 F. Supp. 2d 329, 336 (S.D.N.Y.
11    1998) (rejecting fair use for a substantially similar work because employing the “fair use”
12    exception to infringement in this context would “swallow the rule”), aff’d sub nom.
13    Paramount Pictures Corp. v. Carol Pub. Grp., Inc., 181 F.3d 83 (2d Cir. 1999).
14          On the first factor, where the infringing work’s “basic purpose remains a commercial
15    one—to sell … [work] for profit,” and no transformative use is shown, such “commercial use
16    of copyrighted material is presumptively an unfair exploitation of the monopoly privilege that
17    belongs to the owner of the copyright.” Leadsinger, Inc. v. BMG Music Pub., 512 F.3d 522,
18    530 (9th Cir. 2008); see also Frisby v. Sony Music Ent., 2021 WL 2325646, at *15 n.18 (C.D.
19    Cal. Mar. 11, 2021) (observing that commercial use “is a separate factor that tends to weigh
20    against a finding of fair use,” which looks at whether defendant “stands to profit from
21    exploitation of the copyrighted material without paying the customary price”), citing Harper
22    & Row Publishers, Inc. v. Nation Enterprises, 471 U.S. 539, 562 (1985). Defendants never
23    deny that Shake It Off was purposefully a mega commercial success and was created with the
24    unmistakable aim to make money.            Rather, they attempt to portray their work as
25    transformative and thus “[n]ot [p]rimarily [c]ommercial” (Mot. at 18-21). This argument is
26    unavailing for at least three reasons. First, Defendants’ own authority on this point, Seltzer
27    v. Green Day, Inc., 725 F.3d 1170, 1176 (9th Cir. 2013), does not support the notion that one
28    should measure the transformative value of the work and call it a day on the first factor.

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 1    Rather, the Seltzer court came to find commercial use there to qualify as incidental and thus
 2    carry little weight only because the accused work at issue was a short video used for
 3    background scenery during concerts. See id. at 1178.24 As such, it was not used to make
 4    money—the concert goers were already there, they had already bought their tickets; in other
 5    words, the accused work in Seltzer was never actually used as any kind of a marketing tool.
 6    By contrast, here Defendants used the four-part sequence at issue for the very purpose of
 7    selling their song—it was in Defendants’ chorus, which is the very “heart” or the “hook” of
 8    any song. Copeland v. Bieber, 789 F.3d 484, 493-94 (4th Cir. 2015) (collecting authorities);
 9    see also Arista Recs. LLC v. Myxer Inc., 2011 WL 11660773, at *43 (C.D. Cal. Apr. 1, 2011)
10    (rejecting fair use on summary judgment where the accused work used the chorus that is the
11    “heart” of Plaintiffs’ works). Indeed, as the Fourth Circuit observed, “a chorus hook is
12    important not only aesthetically but also commercially, where it may be central to a song’s
13    economic success,” since “the hook is ‘what you’re selling’”—in other words, it is “the
14    foundation of commercial songwriting, particularly hit-single writing.” Copeland, 789 F.3d
15    at 494; cf. Elvis Presley Enterprises, Inc. v. Passport Video, 349 F.3d 622, 628 (9th Cir. 2003)
16    (finding that the use was more commercial and less transformative where defendant “seeks
17    to profit at least in part from the inherent entertainment value” of the original work).
18
19    24
             The line of authorities utilized in Seltzer to suggest that “transformative use” was
20    outcome determinative has been since heavily criticized. See, e.g., Kienitz v. Sconnie Nation
      LLC, 766 F.3d 756, 758 (7th Cir. 2014) (observing that the relevant Supreme Court precedent
21    does not compel this approach and explaining that “[w]e’re skeptical of [this] approach,
      because asking exclusively whether something is ‘transformative’ not only replaces the list
22    in § 107 but also could override 17 U.S.C. § 106(2), which protects derivative works…. [This
      approach] do[es] no[t] explain how every ‘transformative use’ can be ‘fair use’ without
23    extinguishing the author's rights under § 106(2).”). The Ninth Circuit’s latest position on the
      issue appears to settle on viewing the analysis on a sliding scale: “[W]e consider whether the
24    infringing work is transformative and whether it is commercial…. [T]he more transformative
      the new work, the less will be the significance of other factors, like commercialism.”
25    McGucken v. Pub Ocean Ltd., 42 F.4th 1149, 2022 WL 3051019, at *4 (9th Cir. 2022) ;
      accord Furie, 401 F. Supp. 3d at 972 (“First, courts ask whether the use of the work is
26    commercial in nature. Second, they ask whether such use is transformative.”). Accordingly,
      courts deny summary judgment on fair use even where defendants establish transformative
27    use. See, e.g., XPays, Inc. v. Internet Com. Grp., Inc., 2008 WL 11336139, at *9 (C.D. Cal.
      Jan. 10, 2008) (finding “a mixed transformative and commercial purpose” and concluding
28    “that weighing this factor in favor of [defendant] is not the only conclusion that could be
      reached by a reasonable finder of fact”).
                                                    18
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 1          Second, Defendants’ use does not qualify as transformative as a matter of law. In fact,
 2    other than one case dealing with a parody, Defendants do not even rely on any authority where
 3    one song’s use of another song qualified as transformative use. In any event, Defendants’
 4    own authority confirms that to qualify as “transformative,” “[t]he use … must employ the
 5    quoted matter in a different manner or for a different purpose from the original. A quotation
 6    of copyrighted material that merely repackages or republishes the original is unlikely to pass
 7    the test; in Justice Story’s words, it would merely ‘supersede the objects’ of the original.”
 8    Seltzer, 725 F.3d at 1176-77 (proceeding to find the use transformative based on the accused
 9    work using the original to communicate an entirely new message, since the original “clearly
10    says nothing about religion,” while the accused work portrayed “the hypocrisy of religion,
11    surrounded by religious iconography”). Indeed, the Ninth Circuit specifically distinguished
12    “the typical ‘non-transformative’ case, [where] the use is one which makes no alteration to
13    the expressive content or message of the original work,” id. (original italics), and that is
14    exactly the case here. As the evidence shows (and any reasonable listener can hear), both
15    choruses convey “the same fundamental message” that “we should not be concerned with
16    what other people say and do, trusting in ourselves instead” (P-Ex. 23 at ¶¶ 2 & 5 (observing
17    that both songs feature the protagonist who is “confident, determined, resolute, and disdainful
18    of the gossipers”), and P-Ex. 4 at ¶ 10; see also D-UF (Pl. Resp.) 89, 90 & 185; P-AUF 15;
19    D-Ex. 6 at 22-23 (Defendants’ expert agreeing that the two works exhibit a “general similarity
20    in presenting a speaker who is considering negative comments made by others” and that “both
21    works depict in a general way a world in which some people are critical”); P-Ex. 9 at 43:21-
22    44:12 (Defendants’ expert agreeing that both songs recount people speaking negatively about
23    the protagonist).) Ms. Swift confirmed as much herself through sworn testimony. (See P-
24    AUF 98, citing P-Exs. 31 at 92:5-93:22 & 113:11-19 & 33 (in Ms. Swift’s own words, Shake
25    It Off is “for any of us who … felt like we’ve been … gossiped about” and its message is that
26    “[p]eople can say what they want about us, at any time … and we cannot control that. The
27    only thing we can control is our reaction to it.”).) In this connection, Defendants’ shocking
28    assertion that it is somehow “beyond dispute” in this case that the works are different in

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 1    “meaning and message” (Mot. at 19:8-10) is not only unsupported, it is directly contrary to
 2    the record developed in this case. 25
 3          Indeed, as Defendants’ own authority confirms, “the addition of new expression to an
 4    existing work is not a get-out-of-jail-free card that renders the use of the original
 5    transformative.” Dr. Seuss, 983 F.3d at 453; see also 4 NIMMER ON COPYRIGHT
 6    (“NIMMER”) § 13.05[B][6] (2022) (“It would seem that the pendulum has swung too far in
 7    the direction of recognizing any alteration as transformative, such that this doctrine now
 8    threatens to swallow fair use. It is respectfully submitted that a correction is needed in the
 9    law.”). In fact, Defendants’ own summary of the holding in Dr. Seuss accurately describes
10    the case at bar because, just like defendant in Dr. Seuss, Defendants here merely “replac[ed]
11    original characters” and left the “story” and its building material “otherwise intact” (Mot. at
12    20:6-8) by merely replacing the soulful protagonist in Playas with the upbeat protagonist in
13    Shake It Off—who, at the end of the day, both still proclaim that they will not pay attention
14    to their critics and stay true to themselves by using the “strikingly” similar four-part lyrical
15    sequence. See Dr. Seuss, 983 F.3d at 455 (“Although [the accused] work need not boldly go
16    where no one has gone before, its repackaging, copying, and lack of critique of [the original],
17    coupled with its commercial use of [the original], do not result in a transformative use. The
18    first factor weighs definitively against fair use.”); TCA Television Corp. v. McCollum, 839
19    F.3d 168, 182-83 (2d Cir. 2016) (finding accused work not transformative where the “only
20    purpose served by the extent of defendants’ taking is identically comedic to that of the original
21    authors .... [T]here is ‘nothing transformative’ about using an original work ‘in the manner it
22    was made to be’ used.”); cf. McGucken, 42 F.4th 1149, 2022 WL 3051019, at *6 (rejecting
23    the argument that placing plaintiffs’ work into a different context amounts to transformative
24    use because “it is hard to imagine what would not be a fair use, or what could not be readily
25    turned into a fair use” under this theory) (original italics); Blanch v. Koons, 467 F.3d 244,
26
27    25
             Defendants also mischaracterize Plaintiffs’ claims as supposedly based on copying “the
28    idea” of combining certain phrases. (Mot. at 19:5 & 22:3.) Plaintiffs have already addressed
      this improper mischaracterization in their prior submissions. (See also D-UF (Pl. Resp.) 495.)
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 1    252 (2d Cir. 2006) (Defendants’ own authority, where the court observed that it would be
 2    futile for defendant to argue that a painting is transformative of a photograph because “[w]e
 3    have declined to find a transformative use when the defendant has done no more than find a
 4    new way to exploit the creative virtues of the original work” and finding that the first factor
 5    weighed in defendant’s favor only because plaintiff never contested that the works’ purposes
 6    were different).    As such, Defendants’ pronouncement that their work “is a highly
 7    transformative one” (Mot. at 20:14) rings hollow. See Andy Warhol Found. for Visual Arts,
 8    Inc. v. Goldsmith, 11 F.4th 26, 41-43 (2d Cir. 2021) (concluding that “the bare assertion of a
 9    ‘higher or different artistic use’ is insufficient to render a work transformative” where “the
10    overarching purpose and function of the two works at issue ... is identical”), cert. granted,
11    142 S. Ct. 1412 (2022).
12          Third, even if the differences between the songs identified by Defendants could amount
13    to transformative use, 26 Plaintiffs have raised sufficient factual issues on this point to
14    withstand summary judgment, especially based on the above-collected evidence that the core
15    message of the works is essentially the same. Notably, all the identified differences, such as
16    the asserted romantic mood of Playas and the upbeat nature of Shake It Off, have been
17    discounted by Plaintiffs’ expert witness as insufficient to differentiate the songs’ shared
18    “thematic centers” (P-Ex. 23 at ¶¶ 6-10 (discounting the romantic nature of Playas because
19    “both songs are about speakers who demonstrate resolve in the face of a hostile world,”
20
21    26
             These are essentially the same differences that this Court rejected as insufficient to
22    warrant summary judgment on substantial similarity. (See also D-UF (Pl. Resp.) 125, 128,
      130, 133 & 219; P-Ex. 4 at ¶¶ 47 & 50-52, P-Ex. 7 at 227:15-22.) Thus, for example, as
23    Plaintiffs already showed, there is nothing transformative about such functional decisions as
      repeating lyrics, since they merely drive the upbeat tempo of Defendants’ song, as
24    Defendants’ own expert witness confirmed. (See P-AUF 31, citing Declaration of Professor
      Nathaniel Lewis (Dkt. No. 92-9) at ¶ 32 (observing that the repetition “provides [Defendants’
25    work with its] … dynamism, mood and pace”).) Cf. ABS Ent., Inc. v. CBS Corp., 908 F.3d
      405, 418 (9th Cir. 2018) (observing that “functionally driven decision-making does not
26    demonstrate the kind of originality with which copyright is exclusively concerned”). In fact,
      one of Defendants’ own authorities observed that repetition (even with other changes) may
27    prove insufficient to establish transformative use. See Cariou v. Prince, 714 F.3d 694, 711
      (2d Cir. 2013) (noting that although, inter alia, “repetition of the images … unarguably
28    change[s] the tenor of the piece, it is unclear whether these alterations amount to a sufficient
      transformation of the original work of art such that the new work is transformative”).
                                                    21
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 1    explaining that Defendants’ word repetition is just a performative choice that is “not essential
 2    to the song’s meaning or poetic effect” and opining that “none of the differences in mood or
 3    pace … overshadow” the essential repackaging of Plaintiffs’ work by Defendants)). Indeed,
 4    according to Plaintiffs’ expert witness, none of these differences could amount to the kind of
 5    use that courts find to qualify as transformative. (See Kajikawa Decl. at ¶ 11.) See also
 6    Frisby, 2021 WL 2325646, at *17 (rejecting song sampling as transformative because
 7    defendants’ changes utilized “commonplace” practices and “do not appear to be particularly
 8    novel or unique”).27 Even if Defendants’ expert disagrees on this point,28 this only means
 9    that the issue should go to trial. See also Brophy v. Almanzar, 2020 WL 8175605, at *3 (C.D.
10    Cal. Dec. 4, 2020) (denying summary judgment on fair use where there was an issue of fact
11    as to defendants’ supposedly transformative use of plaintiff’s work and “a reasonable jury
12    could conclude” that the use was not transformative, even though defendants did make “some
13    changes” to the original), citing, inter alia, Hilton v. Hallmark Cards, 599 F.3d 894, 911 (9th
14    Cir. 2010) (concluding there was “enough doubt as to whether Hallmark’s card is
15    transformative” so as to preclude the defense as a matter of law where there were “some
16    differences” between the works but the basic message was the same); see also Sedlik v.
17    Drachenberg, 2022 WL 2784818, at *9 (C.D. Cal. May 31, 2022) (denying summary
18    judgment and finding that the first factor could not be determined as a matter of law where,
19    inter alia, plaintiff introduced evidence that the accused work’s changes were merely
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21    27
             It is notable that Defendants’ expert refers to other famous repetitions in literature, thus
22    arguably rendering them similarly commonplace. (See P-AUF 99.) Regardless, since the
      Court has already found factual issues on the issue of substantial similarity, that must mean
23    that whether Defendants’ additions were “novel and unique” is a similarly factual question.
      Indeed, it is notable that Defendants’ expert offered no separate opinions on the claimed
24    transformative use; rather, Defendants rely on his opinions rendered to contest substantial
      similarity. (See Mot. at 19-20, citing, inter alia, D-UF 454-55, 457, 462-3, 467-8, 477-9, 480
25    & 482; P-Ex. 28 at 26:11-15 (Pr. Lewis confirming that he has not offered any new opinions
      since his original report dealing with substantial similarity).) If those opinions did not suffice
26    to support summary judgment on the issue of whether the changes in Defendants’ song were
      so original that they defeated substantial similarity, it thus follows that the same changes
27    cannot qualify as sufficiently “novel and unique” for the claimed transformative use either.
      28
             Pr. Lewis is a literary expert; accordingly, he offered no opinions to the extent
28    Defendants claim transformative use of a selection and arrangement, let alone a selection and
      arrangement in a song. (See P-AUF 100.)
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 1    functional, especially when weighed together with the commercial nature of the accused
 2    work); accord Furie, 401 F. Supp. 3d at 974 (“[T]he Court concludes that, at minimum, there
 3    are disputed issues of fact precluding summary judgment as to whether the [use] … was
 4    physically and contextually transformative. The parties have presented widely conflicting
 5    evidence on the fair use defense that requires the Court to weigh credibility and resolve factual
 6    disputes…. [T]hese factual disputes and credibility determination are more appropriately left
 7    to the jury rather than determined by the Court on summary judgment.”).
 8          As for the remaining fair use factors, Defendants’ analysis appears to be largely driven
 9    by their unsupported conclusion that their work is “highly transformative” (Mot. at 21:18 &
10    23:13 (second and fourth factors); see also id. at 22 (citing “transformative purpose” for the
11    third factor)) and thus cannot hold up if the Court finds that the first factor weighs against
12    them. In any event, the fact that Playas is admittedly a “creative musical work” (Mot. at
13    21:11) weighs against fair use on the second factor, 29 as does the Court’s prior denial of
14    summary judgment on substantial similarity in relation to the third factor 30—indeed, none of
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      29
              BMG Rts. Mgmt. (US) LLC v. Glob. Eagle Ent. Inc., 2019 WL 6315533, at *9 (C.D.
16    Cal. Sept. 9, 2019) (granting summary judgment against fair use and finding, inter alia, that
      “the nature of the copyrighted work [factor] undoubtably favors BMG because musical
17    compositions and sound recordings are ‘creative in nature and at the core of copyright’s
      protective purpose”), citing Leadsinger, 512 F.3d at 530; see also id. at 531 (“Original song
18    lyrics are a work of creative expression, … which is precisely the sort of expression that the
      copyright law aims to protect.”); accord Frisby, 2021 WL 2325646, at *15 (finding against
19    fair use on the second factor: “[A] creative song measures high under this second factor.”),
      citing NIMMER at § 13.05[A][2][a]. Defendants’ argument that Plaintiffs controlled the first
20    appearance of Playas (see Mot. at 21:12-15) relies on cases dealing with unpublished works,
      which considered whether their unpublished nature should weigh against fair use. It is in that
21    context that plaintiff’s control of the first appearance mattered—if a work was unpublished
      yet plaintiff still controlled its first appearance, then the work’s unpublished nature offered
22    little weight. Cf. Harper, 471 U.S. at 564 (explaining that the scope of fair use is narrower
      for unpublished works because “the author’s right to control the first public appearance of
23    his expression weighs against such use of the work before its release”). This does not mean
      that the second factor weighs in favor of fair use every time the original is a published work,
24    and none of Defendants’ authorities appears to go that far.
25
      30
              See Fournier v. Erickson, 242 F. Supp. 2d 318, 336 (S.D.N.Y. 2003). In any event,
      taking the “heart” of the original, as Defendants did here, always weighs against fair use—
26    even if the taking could be viewed as modest in quantity, as it is the qualitative aspects that
      drive the analysis. See Harper, 471 U.S. at 564-65 (finding that appellate court erred by
27    overruling the district court’s determination that the third factor weighed against fair use
      because defendant “took what was essentially the heart of the book”); Frisby, 2021 WL
28    2325646, at *16 (focusing on the “qualitative aspects” of the copied expression as “more
      significant as it has been held that copying a relatively small portion of the composition could
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 1    Defendants’ authorities counsels otherwise.31 As for the fourth factor, “it is well accepted
 2    that when the intended use is for commercial gain, the likelihood of market harm may be
 3    presumed.” Leadsinger, 512 F.3d at 531 (observing that “[w]e have not hesitated to apply
 4    this presumption in the past”); see also Disney Enterprises, Inc. v. VidAngel, Inc., 869 F.3d
 5    848, 861 (9th Cir. 2017) (“Because the district court concluded that VidAngel’s use was
 6    commercial and not transformative, it was not error to presume likely market harm.”). But
 7    even if this presumption does not apply, the focus of this inquiry is on potential market rather
 8    than actual harm. Cf. Worldwide Church of God v. Philadelphia Church of God, Inc., 227
 9    F.3d 1110, 1119 (9th Cir. 2000) (“If evidence of actual or potential monetary loss were
10    required, copyrights held by nonprofits would be essentially worthless.”). Here, Defendants
11    essentially conclude that their use could not deny Plaintiffs a licensing fee (and thus impact
12    the market for derivative works) because Defendants’ use was fair. (See Mot. at 23:23-27.)
13
      still bar the application of fair use if the part taken was particularly expressive or essential to
14    the copyrighted work” and finding against fair use because the copied portion was the
      “important part[]” of the original); Morris v. Young, 925 F. Supp. 2d 1078, 1087 (C.D. Cal.
15    2013) (“The taking of the ‘heart’ of the work generally weighs against a finding of fair use.”).
      Furthermore, as Plaintiffs already showed, Defendants copied the substantial majority of the
16    creative choices that make up the “heart” of Plaintiffs’ song, thus further weighing against
      fair use. See Sedlik, 2022 WL 2784818, at *9-10 (weighing the third factor against fair use
17    where defendants “copied numerous elements” from the original work, which was not
      necessary to create the sentiment that the accused work sought to create); cf. Kienitz, 766 F.3d
18    at 759 (“There’s no good reason why defendants should be allowed to appropriate someone
      else’s copyrighted efforts …, when so many noncopyrighted alternatives ... were available.
19    The fair-use privilege under § 107 is not designed to protect lazy appropriators.”).
      31
              In Fisher v. Dees, 794 F.2d 432, 434 (9th Cir. 1986), taking the “heart” of the original
20    mattered less because the accused work was a parody, and “[t]o ‘conjure up’ the original work
21    in the audience’s mind, the parodist must appropriate a substantial enough portion of it to
      evoke recognition.” Id. at 435 n.2; see also Henley v. DeVore, 733 F. Supp. 2d 1144, 1160
22    (C.D. Cal. 2010) (“A parodist is generally permitted greater license to borrow when parodying
      music: ‘Like a speech, a song is difficult to parody effectively without exact or near-exact
23    copying.... This ‘special need for accuracy,’ provides some license for ‘closer’ parody.”),
      citing Fisher, 794 F.2d at 439; see also Gaylord v. United States, 595 F.3d 1364, 1373-74
24    (Fed. Cir. 2010) (distinguishing another Defendants’ authority, Lennon v. Premise Media
      Corp., 556 F. Supp. 2d 310 (S.D.N.Y. 2008), as involving a critique of the original). In turn,
25    Defendants’ reliance on Threshold Media Corp. v. Relativity Media, LLC, 2013 WL
      12331550 (C.D. Cal. Mar. 19, 2013), is distinguishable because although the accused work
26    did momentarily borrow the chorus there, the focus of the accused work was elsewhere. See
      id. at *12. By contrast, here Defendants took the heart of Plaintiffs’ song and centralized their
27    song around it. Defendants’ argument that this lyrical “heart” is not important relies on cases
      finding that the original work deserved no copyright protection (see Mot. at 22:11-18)—a
28    proposition that is contrary to the law of the case here. (See also Pl. MSJ Opp’n (Dkt. No.
      98) at 17-19 (collecting authorities establishing that lyrics are separately protected).)
                                                      24
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 1    This entirely circular reasoning cannot hold up; 32 indeed, Defendants’ use in itself
 2    demonstrates market harm: “Defendant argues that Plaintiffs have failed to allege a lost sale
 3    or licensing opportunity as a result of the use. But Plaintiffs lost the opportunity to license
 4    the works to Defendant.” Incredible Features, Inc. v. Backchina, LLC, 2021 WL 6337194,
 5    at *5 (C.D. Cal. Dec. 16, 2021) (reasoning that the fourth factor “assesses the losses
 6    [plaintiffs] would suffer if Defendant’s use was sanctioned and repeated on a larger scale.
 7    The factor thus weighs heavily against fair use.”) (original italics); accord De Fontbrune v.
 8    Wofsy, 39 F.4th 1214, 1226 (9th Cir. 2022) (observing that the fourth factor looks at “whether
 9    unrestricted and widespread conduct of the sort engaged in by the defendant would result in
10    a substantially adverse impact on the potential market for the original” and rejecting
11    defendant’s evidence that the accused work “has not depressed the market for the [original]”
12    because “it proves nothing about the effect on the market …. The record supplies no evidence
13    that widespread appropriation of [the original works] … would only negligibly affect the
14    market ….”). As such, Defendants’ no-harm-no-foul argument adds nothing to the analysis.
15          Accordingly, Defendants’ motion should be denied in its entirety.
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             Indeed, Defendants’ quote from Leibovitz v. Paramount Pictures Corp., 137 F.3d 109,
      117 (2d Cir. 1998), omits a crucial detail—namely, that the court there simply could not
19    envision a derivative market for parodies. By contrast, there is a thriving derivative market
      for sampling, which would be more akin to Defendants’ use than a parody. See, e.g., Frisby,
20    2021 WL 2325646, at *16. As such, if Defendants’ use became widespread, the potential
      market for derivative works based on Playas would be severely undercut (see P-AUF 101).
21    Cf. Grant v. Trump, 563 F. Supp. 3d 278, 289 (S.D.N.Y. 2021) (finding that the accused work
      “may threaten Grant’s licensing markets” because “[i]t is plain that widespread,
22    uncompensated use of Grant’s music in promotional videos … would embolden would-be
      infringers and undermine Grant’s ability to obtain compensation in exchange for licensing his
23    music”). This is especially so considering that, as discussed, the works’ purposes here are
      the same, which is unlike Defendants’ authority in Bill Graham Archives v. Dorling
24    Kindersley Ltd., 448 F.3d 605, 614-15 (2d Cir. 2006), where the court found the market to be
      “transformative” based on the use of images in a biography. Cf. Elvis Presley, 349 F.3d at
25    631 (observing that the first and fourth factors are often interdependent because “[t]he more
      transformative the new work, the less likely the new work’s use of copyrighted materials will
26    affect the market for the materials”); see also Disney Enterprises, Inc. v. VidAngel, Inc., 371
      F. Supp. 3d 708, 722 (C.D. Cal. 2019) (market harm less important where the other three
27    factors weigh against fair use). Notably, the court in Bill Graham never actually analyzed
      “whether unrestricted and widespread conduct of the sort engaged in by the defendant would
28    result in a substantially adverse impact on the potential market for the original,” which is the
      “central aspect of market harm” in this Circuit. Dr. Seuss, 983 F.3d at 461.
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